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 7                                      UNITED STATES DISTRICT COURT

 8                                          DISTRICT OF NEVADA

 9   UNITED STATES OF AMERICA,                               Case No. 3:17-cr-00116-LRC-WGC

10                         Plaintiff,
                                                             GOVERNMENT’S OPPOSITION IN
11          v.                                               RESPONSE TO DEFENDANT’S MOTION
                                                             TO DISMISS
12   REFUGIO PALOMAR-SANTIAGO,

13                         Defendant.

14

15          The United States of America, by and through DAYLE ELIESON, United States Attorney for

16   the District of Nevada, and SUE FAHAMI, Assistant United States Attorney, submit its opposition in

17   response to Defendant’s Motion to Dismiss (“Mot.”), ECF No. 23. This response is timely.

18   I.     FACTS.

19          Defendant claims that he did not receive a notice specifying the place, date or time for his

20   removal hearing that took place on June 10, 1998. Defendant attaches a Notice to Appear (NTA), dated

21   April 14, 1998, that lists the place as “TO BE CALENDARED BY EOIR” and the date and time “TO

22   BE SET.” See Def’s Mot. Ex. B and Government’s Exhibit 1 which contains the second page of the

23   NTA. Defendant fails to mention that on May 20, 1998 he was served, in person, with a Notice of

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 1   Hearing listing the place, date and the start time of 8:30 a.m. See Exhibit 2. On June 10, 1998,

 2   Defendant appeared for his removal proceedings. He was ordered removed. See Exhibit 3.

 3          According to a Custody Redetermination Questionnaire dated 5-20-1998 and a Notice of Entry

 4   of Appearance as Attorney Representative Before the Office of the Immigration Judge Executive Office

 5   for Immigration Review, form EOIR-28, dated May 4, 1998, Defendant was represented by counsel for

 6   the purpose of deportation proceeding. See Exhibits 4 and 5. It is unclear from the A-file whether

 7   Defendant’s attorney was present at Defendant’s June 10, 1998 hearing. What is clear is that Defendant

 8   was advised of his right to counsel and did have counsel as of May 4, 1998. See Exhibits 1-2 and 4-5.

 9   Defendant was also served with a Notice to Appear on March 27, 1998. See Exhibit 6.

10          Defendant relies on a form used by Immigration and Customs Enforcement, the I-862, to claim

11   that he did not receive notice of a place, date and time of his removal hearing in Los Angeles. See Def’s

12   Mot. Ex. B. It would be inappropriate, however, for an Immigration Enforcement Agent (IEA) to

13   provide a date and time on an immigration court notice because the IEA is not an arm of the

14   immigration court and cannot speak on behalf of the court. It is the court that provides notice specifying

15   the date and time of removal hearings. The court does so on a different form – the form Defendant

16   personally received on May 20, 1998, setting his removal hearing on June, 10 1998, at 8:30 a.m. See

17   Exhibit 2.

18          At this 8:30 a.m. hearing on June 10, 1998, Defendant did not make application for relief from

19   removal. See Exhibit 3.

20   II.    STANDARD FOR COLLATERAL CHALLENGE IS CHALLENGED.

21          Defendant is ineligible for relief because he failed to prove that he met the requirements of 8

22   U.S.C. § 1326(d)(1) and (d)(2)—that he exhausted administrative remedies and was deprived of the

23   opportunity for judicial review.

24


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 1          The government acknowledges that under current Circuit precedent, Defendant is excused from

 2   satisfying these requirements if he can show that the entry of the deportation order was fundamentally

 3   unfair under § 1326 (d)(3). See United States v. Ochoa, 861 F.3d 1010, 1020 (9th Cir. 2017); United

 4   States v. Aguilera-Rios, 769 F.3d 626 (9th Cir. 2014). The government accordingly makes this argument

 5   to preserve the opportunity to seek en banc or certiorari review of this issue.

 6          As the Supreme Court long ago held, error does not establish exhaustion: “[o]bviously, the rules

 7   requiring exhaustion of the administrative remedy cannot be circumvented by asserting that the charge

 8   on which the complaint rests is groundless[.]” Myers v. Bethlehem Shipbuilding Corp., 303 U.S. 41,

 9   51−52 (1938). “[I]t is a well-known axiom of administrative law that ‘if a petitioner wishes to preserve

10   an issue for appeal, he must first raise it in the proper administrative forum.”’ Barron v. Ashcroft, 358

11   F.3d 674, 677 (9th Cir. 2004) (quoting Tejada−Mata v. INS, 626 F.2d 721, 726 (9th Cir. 1980)).

12          “‘[W]here Congress specifically mandates it,’ exhaustion is not merely appropriate but

13   ‘required.”’ Id. (quoting McCarthy v. Madigan, 503 U.S. 140, 144 (1992)). Thus, Congressional intent

14   — grounded in statutory text — is of “paramount importance” to any exhaustion inquiry. McCarthy, 503

15   U.S. at 144. As all three members of the Ochoa panel recognized, the Ninth Circuit’s precedent

16   interpreting § 1326(d) has “strayed increasingly far from the statutory text,” as well as from the

17   interpretations of other Circuits. 861 F.3d at 1018, 1023−24 (Graber, J., concurring; joined by McKeown

18   and Lynn, JJ.); accord United States v. Morales, 634 Fed. Appx. 606, 608 (9th Cir. 2016) (Callahan, J.,

19   dissenting).

20          Under the plain language of the statute, a defendant must “demonstrate[]” that he “exhausted any

21   administrative remedies that may have been available” and that deportation proceedings “improperly

22   deprived him of the opportunity for judicial review.” See Ochoa, 861 F.3d at 1019−20. As at least six

23   other Circuits recognize, see id., this language forecloses collateral attacks absent a specific

24   demonstration of exhaustion and deprivation of judicial review. See, e.g., United States v. Soto−Mateo,

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 1   799 F.3d 117, 121 (1st Cir. 2015); United States v. Rivera−Nevarez, 418 F.3d 1104, 1109 (10th Cir.

 2   2005).

 3            Defendant did not satisfy his statutory burden here. The record demonstrates that he did not

 4   exhaust his administrative remedies, nor was he improperly deprived of the opportunity for judicial

 5   review. He was before an immigration judge on June 10, 1998, where he made no application for relief

 6   from removal. See Exhibit 2.

 7            Defendant argues that his prior felony, a conviction under Section 23513 of the California

 8   Vehicle Code does not constitute an aggravated felony and therefore, he was prevented from seeking

 9   meaningful review of his removal proceedings. However, Defendant does not cite to any such evidence

10   from the hearing. Defendant accuses the immigration judge of misleading him during the hearing, even

11   though he states that there is no information in the A-file about the hearing. See Def’s Mot. p 5.

12   Defendant states that “it appears the immigration judge determined that Mr. Palomar-Santiago had

13   committed an aggravated felony by virtue of his 1991 conviction under Section 23513 of the California

14   Vehicle Code.” Id.

15            Defendant received sufficient notice of the removal hearing, in that notice he was advised of

16   certain rights, including the right to be represented at the hearing and in fact had representation as of

17   May 4, 1998, and May 20, 1998. See Exhibits 2, 4-5. At his hearing on June 10, 1998, Defendant did not

18   make application for relief from removal. See Exhibit 3.

19   III.     THE IMMIGRATION COURT PROPERLY ORDERED DEFENDANT’S REMOVAL

20            BASED ON LEGALLY SUFFICIENT NOTICE.

21            Regarding Defendant’s lacking jurisdiction argument on grounds of a suitable notice to appear,

22   Defendant misstates the Pereira v. Sessions decision, 138 S. Ct. 2105 (2018). There is a recent decision

23   directly on point to this case, 27 I&N Dec. 441 (BIA 2018) Interim Decision #3935, Matter of German

24   Bermudez-Cota, Aug. 31, 2018, United States Department of Justice Executive Office for Immigration

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 1   Review Board of Immigration Appeals (BIA), rejecting the extension of Pereira to the same extent

 2   Defendant seeks today. As in Matter of German Bermudez-Cota, Defendant’s claim here is a post-

 3   removal challenge, which is much different from the issue in Pereira as to the “stop-time” rule for a

 4   cancellation of removal. Matter of German Bermudez-Cota holds that immigration judges have

 5   jurisdiction in removal proceedings even where the notice to appear contains a Pereira deficiency. Id.

 6   Specifically, the BIA held that a notice to appear that does not specify the time and place of an alien’s

 7   initial removal hearing vests an immigration judge with jurisdiction over the removal proceedings and

 8   meets the requirements of section 239(a) of the Immigration and Nationality Act, 8 U.S.C. § 1229(a)

 9   (2012), so long as a notice of hearing specifying this information is later sent to the alien. Id. This is

10   precisely what occurred in this case.

11          Pereira, meanwhile, involved a distinct set of facts. Unlike the alien in that case, the Defendant

12   here was properly served with both a notice to appear and a subsequent notice of hearing. The latter

13   specified the time and place of his hearing, and he attended this hearing. Although the Court stated that a

14   notice to appear that does not inform an alien when and where to appear for removal proceedings is not

15   a “notice to appear” under section 239(a), it explained that this was so because “[c]onveying such time-

16   and-place information to a noncitizen is an essential function of a notice to appear, for without it, the

17   Government cannot reasonably expect the noncitizen to appear for his removal proceedings.” Pereira,

18   138 S. Ct. at 2115. The Defendant in this case clearly was sufficiently informed to attend his hearing.

19          Defendant is not seeking cancellation of removal, and the “stop-time” rule is not at issue, so

20   Pereira is distinguishable. The Court specifically stated multiple times that the issue before it was

21   “narrow” and that the “dispositive question” was whether a notice to appear that does not specify the

22   time and place at which proceedings will be held, as required by section 239(a)(1)(G)(i), triggers the

23   “stop-time” rule for purposes of cancellation of removal. Id. at 2110, 2113. Had the Court intended to

24   issue a holding as expansive as the one advanced by the respondent, presumably it would not have

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 1   specifically referred to the question before it as being “narrow.” See Chafin v. Chafin, 568 U.S. 165, 172

 2   (2013) (providing that the Federal courts do not give advisory opinions, “advising what the law would

 3   be upon a hypothetical state of facts” (citation omitted) (internal quotation mark omitted)). Nor would

 4   the Court have repeatedly emphasized that the dispositive question was whether a document that fails to

 5   specify the time and place of proceedings triggers the “stop-time” rule. Significantly, the Court did not

 6   purport to invalidate the alien’s underlying removal proceedings or suggest that proceedings should be

 7   terminated. In fact, the Court remanded the matter for “further proceedings.” Id.

 8          Defendant’s argument finds no support in the Immigration and Nationality Act, which does not

 9   address when or how jurisdiction vests with the immigration court. That issue is, rather, addressed by

10   regulations which establish a comprehensive framework regarding what document must be filed with the

11   immigration court before its jurisdiction is engaged, and what the contents of that document must be.

12   See 8 C.F.R. §§ 1003.14, 1003.15. The Notices to Appear (NTA) that were filed in Defendant’s own

13   case comply with these regulatory requirements, Compare Def’s Mot. Ex. B and Government’s Ex 1

14   with 8 C.F.R. § 1003.15, and thus the immigration court properly exercised jurisdiction over the

15   Defendant in the course of adjudicating the issues of removability and relief from removal. On May 20,

16   1998, Defendant received a Notice of Hearing from the Immigration Court specifying June 10, 1998, at

17   8:30 a.m. for his removal hearing. See Exhibit 2.

18          Contrary to this straightforward resolution of the issue, Defendant contends that Pereira v.

19   Sessions dictates a different result. On Defendant’s argument, Pereira stands for the broad proposition

20   that any NTA that omits the time and place is defective for any and all purposes for which such Notice is

21   required under the INA and its implementing regulations. But Pereira dealt only with a narrow issue of

22   statutory construction relating to whether the so-called “stop-time” rule could be triggered by an NTA

23   omitting the time and place of the initial hearing. Resolution of that issue revolved around two statutory

24   provisions, neither of which is directly implicated by the issue presented here. In fact, this case turns

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 1   entirely on the regulatory framework that the Attorney General has enacted to govern removal

 2   proceedings under Congress’s broad delegation of authority to him to “establish such regulations * * *

 3   as [he] determines to be necessary for” the functioning of the Executive Office for Immigration Review

 4   and the immigration judges that exercise his delegated authority. See 8 U.S.C. §§ 1103(g)(1) & (2).

 5   Pereira thus does not mandate remand and termination in cases such as Defendant’s, and even if that

 6   decision were relevant in construing “Notice to Appear” in this distinct context, nothing in Pereira

 7   forecloses a later-served Notice of Hearing, containing the time and place of the removal proceeding,

 8   from “completing” the statutorily required notice.

 9          A.      The Immigration Court was Properly Vested with Jurisdiction in this Case.

10          The INA provides that “[a]n immigration judge shall conduct proceedings for deciding the

11   inadmissibility or deportability of an alien.” 8 U.S.C. § 1229a(a)(1). To assist the immigration judge in

12   the discharge of this obligation, the INA also gives the immigration judge broad authority to conduct the

13   proceeding, 8 U.S.C. § 1229a(b)(1), while providing flexibility in the form that proceeding may take, 8

14   U.S.C. § 1229a(b)(2)(A). Nowhere in Section 1229a did Congress address when or how jurisdiction

15   vests with the immigration court.

16          The INA also provides that “[i]n removal proceedings under section 1229a [], written notice (in

17   this section referred to as a “notice to appear”) shall be given in person to the alien (or, if personal

18   service is not practicable, through service by mail to the alien or to the alien’s counsel of record, if any),

19   specifying” certain information, including, inter alia, the factual allegations and charge of removability

20   against the alien, the nature of the proceeding and legal authority under which it is conducted, and “[t]he

21   time and place at which the proceedings will be held.” 8 U.S.C. § 1229(a)(1)(A)—(D), (G)(i). By its

22   terms, however, this section refers only to a notice provided to the alien, 8 U.S.C. § 1229(a)(1) (“written

23   notice * * * shall be given in person to the alien”); nothing in Section 1229 directs that such notice must

24   be filed with the immigration court in order to vest jurisdiction with the agency, and no other subsection

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 1   of the statute provides any mechanism or framework for the vesting of jurisdiction with the immigration

 2   court.1

 3             The issue of when and how jurisdiction vests with the immigration court is addressed not by

 4   statute, but by regulation. Congress, through the INA, expressly conferred upon the Attorney General

 5   the authority and responsibility to conduct removal proceedings, 8 U.S.C. § 1229a(a), as well as the

 6   authority to “establish such regulations * * * as [he] determines to be necessary for carrying out” his

 7   responsibilities under the INA, 8 U.S.C. § 1103(g)(2). Pursuant to that statutory delegation of authority,

 8   the Attorney General established a comprehensive framework governing immigration court proceedings,

 9   see generally 8 C.F.R. Ch. V, Subch. A, Pt. 1003, Subpt. C (Immigration Court—Rules of Procedure),

10   including when and how jurisdiction vests with the immigration court. This framework is entitled to

11   substantial deference on review under Chevron, U.S.A., Inc. v. Natural Resources Defense Council, Inc.,

12   467 U.S. 837, 843 (1984) (“The power of an administrative agency to administer a Congressionally

13   created . . . program necessarily requires the formulation of policy and the making of rules to fill any gap

14   left, implicitly or explicitly, by Congress.”).

15             “Jurisdiction vests, and proceedings before an Immigration Judge commence, when a charging

16   document is filed with the Immigration Court by the” Department of Homeland Security. 8 C.F.R. §

17   1003.14(a). For proceedings “initiated after April 1, 1997,” such as those of Defendant, the charging

18   document is defined, by regulation, to “include a Notice to Appear, a Notice of Referral to Immigration

19   Judge, and a Notice of Intention to Rescind and Request for Hearing by Alien.” 8 C.F.R. § 1003.13.

20   The regulation does not cross-reference the statutory definition of “Notice to Appear,” found at 8 U.S.C.

21

22

23   1
       In fact, there is no reason to believe that the statutory definition of “Notice to Appear” applies except
     insofar as it is referenced or incorporated in other provisions of the statute, such as the stop-time rule, 8
24
     U.S.C. § 1229b(d)(1).

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 1   § 1229(a)(1). Rather, the regulations direct the necessary contents of an NTA for purposes of vesting

 2   jurisdiction with the immigration court. See 8 C.F.R. §§ 1003.15(b) & (c). That notice must include:

 3          (1)   The nature of the proceedings against the alien;
            (2)   The legal authority under which the proceedings are conducted;
 4          (3)   The acts or conduct alleged to be in violation of law;
            (4)   The charges against the alien and the statutory provisions alleged to have been
 5                violated;
            (5)   Notice that the alien may be represented, at no cost to the government by counsel or
 6                other representative authorized to appear pursuant to 8 C.F.R. § 1292.1;
            (6)   The address of the Immigration Court where [DHS] will file the Order to Show
 7                Cause and Notice to Appear; and
            (7)   A statement that the alien must advise the Immigration Court having administrative
 8                control over the Record of Proceeding of his or her current address and telephone
                  number and a statement that failure to provide such information may result in an in
 9                absentia hearing in accordance with § 1003.26.

10   8 C.F.R. § 1003.15(b). This list largely duplicates the statutory definition of “Notice to Appear,” see 8

11   U.S.C. § 1229(a)(1)(A)—(F), but does not include any reference to the time and place of the initial

12   hearing, compare 8 C.F.R. § 1003.15(b), with 8 U.S.C. § 1229(a)(1)(G)(i). The contents of a “Notice to

13   Appear for removal proceedings” must also include additional information, including the “alien’s name

14   and any known aliases,” his or her address, “[t]he alien’s registration number,” the alleged nationality

15   and citizenship of the alien, and “[t]he language that the alien understands.” 8 C.F.R. § 1003.15(c). The

16   inclusion of the information contemplated by Section 1003.15(b) is mandatory, while the “[f]ailure to

17   provide” all of the information under Section 1003.15(c) “shall not be construed as affording the alien

18   any substantive or procedural rights.” 8 C.F.R. § 1003.15(c).

19          Here, the NTAs served on Defendant, and filed with the immigration court, contained all of the

20   information required by 8 C.F.R. § 1003.15(b). Compare Def’s Mot. Ex. B and Government’s Exhibits

21   1 and 6 with 8 C.F.R. § 1003.15(b) (listing required information). Although the notices did not include

22   the date and time of Defendant’s removal hearing, that information is not required by the regulation and

23   is not a prerequisite to the immigration court being properly vested with jurisdiction to conduct the

24   removal proceeding. See generally 8 C.F.R. § 1003.14(a), §§ 1003.15(b) & (c). And this framework is

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 1   not contrary to the statute itself. No provision of the INA addresses when or how jurisdiction vests with

 2   the immigration court, nor does any provision foreclose the Attorney General’s exercise of his authority

 3   to condition the vesting of jurisdiction on the filing of a Notice to Appear that omits some of the

 4   information Congress, elsewhere in the statute, required to be provided to the alien for other purposes.

 5   In such circumstances, the Attorney General’s promulgation of this regulatory framework is

 6   unquestionably permissible and entitled to deference on review. See, e.g., Vermont Yankee Nuclear

 7   Power Corp. v. Natural Resources Defense Council, 435 U.S. 519, 543 (1978) (“this much is absolutely

 8   clear. Absent constitutional constraints or extremely compelling circumstances, the administrative

 9   agencies should be free to fashion their own rules of procedure and to pursue methods of inquiry capable

10   of permitting them to discharge their multitudinous duties.”); id. at 548-59 (courts should engaged in

11   limited “review and not stray beyond the judicial province to explore the procedural format or to impose

12   upon the agency its own notion of which procedures are ‘best’ or most likely to further some vague,

13   undefined public good.”).

14          Defendant was served with two Notices to Appear that complied with the regulatory framework

15   that governs the commencement of removal proceedings. Defendant was also served in person on May

16   20, 1998, with a Notice of Hearing for his removal hearing set for June 10, 1998, at 8:30 a.m. before that

17   Court. See Exhibit 2. Defendant’s proceedings were thus conducted under proper authority.

18                  B.      Pereira does not Mandate a Different Result.

19          Defendant makes no serious argument that the Notices to Appear filed in his case failed to

20   comply with 8 C.F.R. §1003.15, and as the record establishes, no such argument could be made.

21   Defendant argues, rather, that the Supreme Court’s recent decision in Pereira entails the result that any

22   NTA that lacks all of the information required under 8 U.S.C. § 1229(a)(1) is defective for all purposes.

23   This absurd conclusion finds no support in the issue resolved by the Supreme Court, its reasoning, or its

24   judgment.

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 1          At the threshold, the logic of the decision is contrary to Defendant’s own position and in fact

 2   supports the assertion that the immigration court was vested with jurisdiction in this case. In Pereira,

 3   the Supreme Court conducted a two-step inquiry, reviewing the interplay between a statutory provision

 4   relating to the occurrence of a specific event (the stop-time rule’s cutting off the accrual of continuous

 5   physical presence), and the triggering mechanism for that event (service of a statutorily compliant

 6   Notice to Appear). See Pereira, 138 S. Ct. at 2114-2117. The statutory definition of “Notice to Appear”

 7   supplied the clear answer to when the stop-time rule could apply—only upon the service of notice that

 8   included time and place information as required by Section 1229(a). See id. at 2114 (“based on the plain

 9   text of the statute, it is clear that to trigger the stop-time rule, the Government must serve a notice to

10   appear that * * * ‘specif[ies]’ the ‘time and place’ of the removal proceedings.”).

11          The regulatory provisions at issue here are structured similarly, and likewise provide a plain

12   answer to the question presented. The event this case is concerned with is the vesting of jurisdiction

13   with the immigration court under 8 C.F.R. § 1003.14, and the triggering mechanism for that event is

14   service of a charging document that complies with the definitional requirements of the regulation, 8

15   C.F.R. §§ 1003.13, 1003.15(b) & (c). Under the logic of Pereira, 8 C.F.R. §§ 1003.15(b) and (c) supply

16   the plain answer to when jurisdiction vests with the immigration court—when a relevant charging

17   document (including a Notice to Appear) is filed, so long as that document contains the information

18   required by the regulations.

19          At worst, however, Pereira is distinguishable from the issue presented in this case. First, in

20   Pereira the Supreme Court only considered what it characterized as a “narrow[]” issue: “Does a ‘notice

21   to appear’ that does not specify the ‘time and place at which the proceedings will be held,’ as required

22   by § 1229(a)(1)(G)(i), trigger the stop-time rule?” Pereira, 138 S. Ct. at 2110.

23          The Court’s resolution of this narrow issue has no relevance at all to Defendant’s own case, as

24   there is no question relating to proper application of the stop-time rule or whether a statutorily deficient

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 1   NTA stopped his accrual of continuous physical presence. And the Court’s own consistent reference to

 2   the “narrowness” of the issue it was resolving, id. at 2110, 2113, belies any intent to render the broad

 3   holding Defendant believes the Court actually entered.

 4          Second, extrapolation from the issue the Supreme Court did resolve in Pereira to the issue

 5   Defendant presents is misguided. The Supreme Court’s decision in Pereira is best limited to that

 6   Court’s own narrow conception of the question as lying “at the intersection of” two statutory provisions

 7   (id. at 2110): the stop-time rule, which is triggered “when the alien is served a notice to appear under

 8   section 1229(a) of” the INA, 8 U.S.C. § 1229b(d)(1), and the statutory provision specifying the

 9   information that must be included in the Notice to Appear that is served on the alien, 8 U.S.C. §

10   1229(a)(1). The Supreme Court concluded that Congress’s specific reference to the statutory

11   “definition” of an NTA in the stop-time rule plainly indicated its intent that the stop-time rule would be

12   triggered only by an NTA specifying all of the statutorily required information. See Pereira, 138 S. Ct.

13   at 2114-2117. Thus, the Court’s decision turned on explicit reference to the INA’s definition of what

14   constitutes an NTA, id. at 2110-2113, which the statute in turn defines as that document which is served

15   on the alien to apprise (him/her) of the intent to commence removal proceedings, 8 U.S.C. § 1229(a).

16          No such issues of interpretation are presented in this case. The regulations governing the vesting

17   of jurisdiction with the immigration court do not reference the statutory definition of a Notice to Appear,

18   as does the stop-time rule. Compare 8 C.F.R. §§ 1003.14 & 1003.15, with 8 U.S.C. § 1229b(d)(1). The

19   statutory definition actually enacted by Congress does not reference the filing of the document or the

20   commencement of proceedings with the immigration court, providing no statutory hook by which to

21   inject the Section 1229(a)(1) definition of “Notice to Appear” into the administrative process for

22   instituting removal proceedings. And nowhere else in the statute—whether in Section 1229 or Section

23   1229a—did Congress mandate any particular process for vesting the immigration court with jurisdiction

24   or direct that proceedings could only be instituted upon the filing of a specific document with a specific,

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 1   and required, content. In fact, the inclusion of multiple potential charging documents the filing of which

 2   could vest the immigration court with jurisdiction over a particular case undercuts the contention that 8

 3   U.S.C. § 1229(a)(1) is either the sole or even a relevant touchstone for the sufficiency of the charging

 4   document contemplated by the regulation. See 8 C.F.R. § 1003.13 (charging documents includes not

 5   only NTAs, but also “a Notice of Referral to Immigration Judge, and a Notice of Intention to Rescind

 6   and Request for Hearing by Alien” ). On its face and by its terms, the definition of “Notice to Appear”

 7   in Section 1229(a)(1) is relevant only insofar as it is cross-referenced and specifically incorporated in

 8   other statutory provisions, none of which are involved in this case. And again, as more fully addressed

 9   in the preceding section, given this gap the Attorney General properly exercised his authority to

10   promulgate regulations governing these issues that Congress itself deemed better addressed through

11   rule-making rather than by statute.

12          Finally, the holding Defendant constructs for the Pereira decision—that all Notices to Appear

13   lacking a time and place for the initial hearing are essentially void and incapable of vesting jurisdiction

14   in the immigration court—sits uneasily with that Court’s judgment. After holding that the stop-time rule

15   should not have been applied to pretermit the application for cancellation of removal, the Supreme Court

16   directed that the case be “remanded for further proceedings consistent with this opinion,” namely,

17   further consideration of the alien’s eligibility for cancellation of removal. Pereira, 138 S. Ct. 2120. But

18   if the necessary result of the statutorily deficient Notice to Appear in Pereira is that proceedings could

19   have never been properly instituted in the first place, one could have expected the judgment to reflect the

20   impermissibility of any further proceedings in the alien’s case in the absence of a newly filed, and

21   statutorily-compliant, Notice to Appear. The contemplation of further proceedings on the alien’s

22   eligibility for cancellation of removal in Pereira thus undercuts the contention that the deficiency

23   highlighted by the Court is fatal to the immigration court’s jurisdiction. And the Supreme Court’s

24   silence on instituting such a broad and disruptive rule is especially telling, as it would be unlikely the

                                                          13
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 1   Court intended to hide such an elephantine holding in the mousehole of the decision it actually issued.2

 2   Cf. Whitman v. American Trucking Associations, 531 U.S. 457, 468 (2001) (applying same principle in

 3   declining to read statutory grant of authority more broadly than the text and general statutory scheme

 4   would support).

 5          C.    Even if Pereira is Relevant, and the Notice to Appear was Deficient, the Notice of
            Hearing and Actual Commencement of Proceedings Cured that Initial Defect.
 6

 7          Even if this court viewed Pereira’s holding as relevant to this case, it should further conclude

 8   that any defect in the NTAs were cured by the subsequent service of the Notice of Hearing and

 9   Defendant’s full participation in his removal proceedings. See Exhibits 2-3. On May 20, 1998,

10   Defendant was personally served with his “Notice of Hearing in Removal Proceeding” hearing on June

11   10, 1998, at 8:3 a.m. at Immigration Court, 45100 N. 60th Street West, Lancaster, CA 93536.

12          Although the Supreme Court held that an NTA that omitted the time and place of the initial

13   hearing was “defective” for stop-time purposes, it did not address the effect, if any, of the subsequently

14   served Notice of Hearing. There is good reason to believe that if total compliance with the statute is

15   necessary before jurisdiction vests with the immigration court, the Notice of Hearing, providing the

16   piece of information that was missing from the initial NTA, is sufficient to meet the requirements of 8

17   U.S.C. § 1229(a)(1).

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19   2
       The disruptive potential of this argument is in fact even broader than acknowledged by Defendant, and
     cannot be limited to only those cases where an alien was denied relief and ordered removed. If an NTA
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     that lacks the time and place of the initial hearing is defective and insufficient to vest jurisdiction with the
     immigration court, that will be true as well in cases where the alien was granted relief. The logical
21
     outcome of applying Defendant’s argument is that every removal proceeding that was instituted based on
     an NTA lacking time and place information must be redone, and the scope of that rule encompasses not
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     only aliens like Defendant who were denied relief and ordered removed, but also all those aliens who were
     granted relief, who have since perhaps obtained other lawful status, and who have been living in the United
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     States lawfully for many years. Considering the chaos this rule could thus impose on the system, it is fair
     to question whether the Supreme Court would have only implicitly rendered the holding Defendant
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     imagines.

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 1          First, prior to the agency and court of appeals decisions holding that an NTA need not include a

 2   time and place for the initial hearing in order to trigger the stop-time rule, the courts of appeals had

 3   generally held that a Notice to Appear lacking such information, together with the subsequently served

 4   Notice of Hearing, were together sufficient to meet the statutory definition under Section 1229(a)(1).

 5   See Guamanrrigara v. Holder, 670 F.3d 404, 410 (2d Cir. 2012) (per curiam); Popa v Holder, 571 F.3d

 6   890, 895-96 (9th Cir. 2009); Gomez-Palacios v. Holder, 560 F.3d 354, 359 (5th Cir. 2009); Dababneh v.

 7   Gonzales, 471 F.3d 806, 809 (7th Cir. 2006); Garcia-Ramirez v. Gonzales, 423 F.3d 935, 937 & n.3 (9th

 8   Cir. 2005). Pereira does not explicitly overrule these decisions, nor, given the absence of any timely

 9   served Notice of Hearing, did the Supreme Court have any reason to address the holdings of these

10   decisions. To the extent they were referenced at all, Justice Kennedy characterized their holdings as an

11   “emerging consensus” that was “abruptly dissolved” by other developments. Pereira, 138 S. Ct. at

12   2120. (Kennedy, J., concurring). Nonetheless, these decisions are not contrary to the statute, which

13   explicitly mandates “notice” of certain information but is silent on whether that notice must be in one

14   document or could be in multiple documents. Cf. 8 C.F.R. § 1003.18 (providing that the place, date, and

15   time of the hearing should be provided through the Notice of Hearing if it is not included in the NTA).

16          Second, construing the service of the Notice of Hearing as curing the underlying defect in the

17   NTA is consistent with how the Supreme Court has dealt with similar initial defects that are deemed

18   cured upon the subsequent acts of a litigant. In Becker v. Montgomery, for instance, the Supreme Court

19   held that an unsigned notice of appeal satisfied Federal Rule of Appellate Procedure 3(a)(1)’s

20   requirement to timely “fil[e] a notice of appeal with the district clerk,” so long as it was subsequently

21   signed, even if that signing occurred after the time to appeal had expired. 532 U.S. 757, 768 (2001).

22   Following Becker, the Court upheld an Equal Employment Opportunity Commission regulation that

23   permitted amendment of a timely filed Title VII discrimination charge to include an omitted, but

24   required, verification, even if that amendment occurred outside the statutory charge-filing period.

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 1   Edelman v. Lynchburg College, 535 U.S. 106, 115-118 (2002). Two terms later, in Scarborough v.

 2   Principi, the Court applied Becker and Edelman to hold that a timely filed application for attorney’s fees

 3   under the Equal Access to Justice Act could be amended after expiration of the statutory filing period to

 4   include the necessary allegation that the government’s position in the underlying litigation was “not

 5   substantially justified.” 541 U.S. 401, 413-419 (2004). The holdings of these cases support the curative

 6   effect of the Notice of Hearing—an initially defective document or filing (the NTA in this case) can be

 7   cured when the necessary information is provided (through the Notice of Hearing).

 8          Here, on May 20, 1998, Defendant was properly served with a Notice of Hearing of June 10,

 9   1998, at 8:30 a.m., for his removal hearing, when in fact his removal hearing occurred. Defendant did

10   not contest the finding of removal. His motion to dismiss the indictment fails.

11   Dated this 1st day of November, 2018.                Respectfully submitted,

12                                                        DAYLE ELIESON
                                                          United States Attorney
13

14                                                        __/s/ Sue Fahami____________
                                                          SUE FAHAMI
15                                                        Assistant United States Attorney

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 1                                      CERTIFICATE OF SERVICE

 2          It is hereby certified that pursuant to LCR 47-4 service of the foregoing GOVERNMENT’S

 3   OPPOSITION IN RESPONSE TO DEFENDANT’S MOTION TO DISMISS was made through the

 4   Court’s electronic filing and notice system (CM/ECF).

 5          Christopher Frey, A.F.P.D.
            201 West Liberty Street, Suite 102
 6          Reno, Nevada 89501
            Attorney for Defendant Palomar-Santiago
 7

 8          DATED this 1st day of November, 2018.

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10                                                     __/s/ Sue Fahami____________
                                                       SUE FAHAMI
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